          IN THE DISTRICT COURT OF THE UNITED STATES
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      CHARLOTTE DIVISION

                    CRIMINAL CASE NO. 3:07cr211-2


UNITED STATES OF AMERICA, )
                            )
                            )
              vs.           )                  ORDER
                            )
                            )
VICTORIA L. SPROUSE.        )
                          )



     THIS MATTER is before the Court on the Defendant’s Notice and

Motion for Leave to Introduce Expert Testimony at Sentencing [Doc. 340].

     In the Defendant’s earlier motion to continue the sentencing hearing,

she requested leave to introduce expert testimony. [Doc. 328]. The motion to

continue was granted on May 28, 2010 but the issue of expert witnesses was

deferred. By Order entered on July 16, 2010, the request to introduce the

testimony of Herbert Hoelter was granted and the request to introduce the

testimony of Douglas Berman was denied. [Doc. 352].

     In the interim, the Defendant renewed her motion for expert testimony.

[Doc. 340]. That motion has been rendered moot by the Court’s ruling in

Document 352. It appears, however, that the second motion requested leave




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to present the testimony of an additional proposed expert, Carolyn Blondin,

concerning what would be reasonably foreseeable to a real estate closing

attorney as the same relates to the assessment of loss. Provided that the

Defendant properly qualifies this witness as an expert, the Court would allow

her testimony at the sentencing hearing. Counsel are advised to prepare this

testimony such that direct examination will be completed in thirty minutes and

that cross examination will be completed in thirty minutes. If counsel believe

that these time limitations are too stringent, counsel may apply to the Court

in advance of the hearing for additional time citing the reasons why such

testimony cannot be presented within these parameters.

      IT IS, THEREFORE, ORDERED that the Defendant’s Notice and Motion

for Leave to Introduce Expert Testimony at Sentencing [Doc. 340] is hereby

DENIED as moot as it relates to the testimony of Douglas Berman and

Herbert Hoelter and is hereby GRANTED as it relates to the testimony of

Carolyn Blondin.

                                      Signed: July 16, 2010




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